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    AL NAACP NEWS
   Alabama State Conference National Association for the Advancement of Colored People
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  ALABAMA NAACP CONDEMNS GOVERNOR IVEY RACIST BAN OF DEI LAW


       The Alabama NAACP responds alongside other social justice organization, with incredulousness that
the Governor of the great state of Alabama, is preparing an overt racist regime for the future generations in
Alabama.

        Governor Ivey signed SB129 into law, prohibiting state funds for all public schools and institutions
who teach diversity, equity, and inclusion, ultimately restricting divisive concepts. This law also outlines eight
‘divisive concepts’ including discussions around conscious and subconscious racism. It aims to terminate the
employment of any employee who violates this law. The law will go into effect October 1, 2024.

        “This is colonialism, in 2024. It is an oppressive, all-out attempt to divide the state. We will not allow
slavers to strip us from learning of our rich history. We join forces with the National NAACP and
Birmingham Mayor Woodfin, to urge athletes and professional students of color, to take their talents to other
institutions who value their gifts. There is no need to bring money into this state, nor play for a team, that
disregards our humanity,” said Benard Simelton, president of the Alabama NAACP.

        This is an indelicate law, casting and continuing down a dark path of racist practices in Alabama and
putting negative implications on the future of our children and their education. This level of hypocrisy is one
that mandates education, as long as our children do not learn about historical facts and truths. One cannot
support diversity and inclusion without knowing the truth. “The next generation is at the helm of stepping into
leadership in Alabama, and Governor Ivey is pulling out all stops to stop them,” added Simelton.

       The state of Alabama has joined the state of Florida, as they took aim at the passing the Stop Woke
Act 2022, preventing companies from requiring diversity training.

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